Case 7:18-mj-O1425 Docnment 1 Filed in TXSD on 07/13/18 Page 1 of 2
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UNITED STATES DISTRICT COURT JUL 13 2018
for the
Southern Dlstnct of Texas , '_ » '.Ciii‘iwf€@§_!f '

 

United States of America ) _
victorManue1cA1\/1Anao- -Agre_da YoB 1979 § Case NO \V\»- l@" l"€a'% M
coc ME)< ‘ )
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- :1 )
'D_efendanl(s)
_cRIMINAL c'oMPLAINT

I, the complainant in this_case, state that the following is true to the best Of my knowledge and belief.

 

 

On or about thedate(S) of July 12, 2018. in the county of `Starr 4 ` in the
, Sonthem ‘ District of ' Texas , the defendant(s) violated:
Code Section _ . ' b ' Oyj‘ense Descrz'ption
21 United States Code 841 . ,' Did knowingly and intentionally possess With intend to distribute approximately
` j 17 kilograms (gross Weight) of cocaine a Schedule ll Controlled Substance;
_ 21 United $tates Code 846 knowingly and intentionally conspire: to possess With intent to distribute a

v controlled substance, to Wit approximately 17 kilograms of cocaine, a Schedule
ll Controlled Substance,

This criminal complaint is based on these facts:
SEE ~ATTACH|_V|El\lT "A"
v/ Continued on_the attached sheet.

111/111

amler/anl ’s signature

Rafael Garza Jr HSl SA

Printea' name and title

    

Date: Jul 13 2018

 

 

t n l l . //ge's signalurev g _
City and state: l\/ch|len, Texas ` . ‘ - ` . Scott ackerl U.S. lVlagistrate Judge
. ' y /P/'inted name and title _ .

Case 7:18-mj-01425 Document 1 Filed in TXSD on 07/13/18 Page 2 of 2

Attachment “A”

On Julyl2, 2018, United `States Customs and Border Protection (CBP) requested
assistance from Department of Homeland Security lnvestigations (HSI) from the
office of the Resident Agent in Charge, Falcon Heights, TeXas regarding a narcotics
smuggling attempt HSI Special Agent (SA) Rafael Garza Jr.. responded to the
Roma Texas Port of Entry. (POE) to investigate .

Custorns and Border Protection Officers (CBPOs) reported that Victor l\/lanuel
CAMARGO-Agreda (driver), a Citizen of l\/lexic_o, Was seeking entry into the
United States on July 12, 2018 in a 2005 Ford Taurus bearing Tamaulipas license

~ plate number 283-TR-JS. CAMARGO-Agreda Was the sole occupant in the vehicle
CBPOs received a negative declaration from the driver. CBPOs in primary
questioned CAMARGO-Agreda for the purpose of visiting United States.- During
questioning, CBPOS noticed CAMARGO-Agreda appeared nervous While
answering to questions. CBPOs also noticed that the 2 rear doors side panels
appeared to be tampered With. CBPOs referred CAMARGO-Agreda and his

- vehicle to secondary for further inspection

While at secondary, CBPOs noticed packages inside the door panels of the vehicle
A total of 17 packageswere discovered and extracted The packages contained a
White powd'ery,sub_stance and tested positive for the characteristics of cocaine The
packages had a total Weight of approximately 17 kilograms

TFO Ozuna read CAMARGO-Agreda his rights in the Spanish language Witnes`sed
- by HSI SA Garza Jr. CAMARGO-Agreda stated he understood his rights and
Waived his right to have an attorney present. CAMARGO#Agreda confessed he Was
going to receive $l,OO0.00 dollars to smuggle marijuana in his vehicle from Mexico
to the United States.

CAMARGO-Agreda Was placed under arrest and transported to the Starr County '
Jail to await his initial appearance before the United States l\/lagistrate Judge in
McAllen, Texas.

